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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                 x
                                                   :
UNITED STATES OF AMERICA
                                                   :     CONSENT PRELIMINARY ORDER
               - v. -                                    OF FORFEITURE/
                                                   :     MONEY JUDGMENT
DAVID WAGNER,
                                                   :     19 Cr. 437 (AKH)
                        Defendant.
                                                   :
----------------------------------                 x

               WHEREAS, on or about June 12, 2019, DAVID WAGNER (the “Defendant”), and

co-defendant Marc Lawrence, was charged in a five-count Indictment, 19 Cr. 437 (AKH) (the

“Indictment”), with conspiracy to commit securities fraud, in violation of Title 18, United States

Code, Section 371 (Count One); securities fraud, in violation of Title 15, United States Code,

Sections 78j(b) and 78ff, Title 17, Code of Federal Regulations, Section 240.10b-5, and Title 18,

United States Code, Section 2 (Counts Two and Three); conspiracy to commit wire fraud, in

violation of Title 18, United States Code, Section 1349 (Count Four); and wire fraud, in violation

of Title 18, United States Code, Sections 1343 and 2 (Count Five);

               WHEREAS, the Indictment included a forfeiture allegation as to Counts One

through Five, seeking forfeiture to the United States, pursuant to Title 18, United States Code,

Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), of any and all property,

real and personal, which constitutes or is derived from proceeds traceable to the commission of

the offenses charged in Counts One through Five, including but not limited to a sum of money in

United States currency representing the amount of proceeds traceable to the commission of the

offenses charged in Counts One through Five that the Defendant personally obtained;

               WHEREAS, on or about September 21, 2020, the Defendant pled guilty to Counts

Two, Three and Five of the Indictment, pursuant to a plea agreement with the Government,
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wherein the Defendant admitted the forfeiture allegation with respect to Counts Two, Three and

Five of the Indictment and agreed to forfeit to the United States, pursuant to Title 18, United States

Code, Section 981(a)(1)(C) and Title 28 United States Code, Section 2461(c) a sum of money

equal to $549,000 in United States currency, representing any and all property, real or personal,

which constitutes or is derived from proceeds traceable to the commission of the offenses charged

in Counts Two, Three and Five of the Indictment, including but not limited to a sum of money in

United States currency representing the amount of proceeds traceable to the commission of said

offenses that the Defendant personally obtained;

               WHEREAS, the Defendant consents to the entry of a money judgment in the

amount of $549,000 in United States currency representing the amount of proceeds traceable to

the offenses charged in Counts Two, Three and Five of the Indictment that the Defendant

personally obtained; and

                WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the

Defendant, the proceeds traceable to the offenses charged in Counts Two, Three and Five of the

Indictment that the Defendant personally obtained cannot be located upon the exercise of due

diligence.

               IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney Audrey Strauss, Acting United States Attorney, Assistant United States

Attorneys, Jilan Kamal and Sagar Ravi, of counsel, and the Defendant, DAVID WAGNER and

his counsel, Martin Cohen, Esq., that:

               1.      As a result of the offenses charged in Counts Two, Three and Five of the

Indictment, to which the Defendant pled guilty, a money judgment in the amount of $549,000 in

United States currency (the “Money Judgment”), representing the amount of proceeds traceable to
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the offenses charged in Counts Two, Three and Five of the Indictment that the Defendant

personally obtained, shall be entered against the Defendant.

               2.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, DAVID

WAGNER, and shall be deemed part of the sentence of the Defendant, and shall be included in

the judgment of conviction therewith.

               3.      All payments on the outstanding money judgment shall be made by postal

money order, bank or certified check, made payable, in this instance, to the United States Marshals

Service, and delivered by mail to the United States Attorney’s Office, Southern District of New

York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s

Plaza, New York, New York 10007 and shall indicate the Defendant’s name and case number.

               4.      The United States Marshals Service is authorized to deposit the payments

on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title

to such forfeited property.

               5.      Pursuant to Title 21, United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Money Judgment.

               6.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate

or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.
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              7.      The Court shall retain jurisdiction to enforce this Consent Preliminary Order

of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

              8.      The Clerk of the Court shall forward three certified copies of this Consent

Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander

J. Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.




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               9.      The signature page of this Consent Preliminary Order of Forfeiture/Money

Judgment may be executed in one or more counterparts, each of which will be deemed an original

but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:

AUDREY STRAUSS
Acting United States Attorney for the
Southern District of New York


By:    _____________________________                         January 11, 2020
                                                            ________________
       Jilan Kamal                                          DATE
       Sagar Ravi
       Assistant United States Attorneys
       One St. Andrew’s Plaza
       New York, NY 10007
       (212) 637-2192 / 2195


DAVID WAGNER


By:    /s/ David Wagner by Martin Cohen                     Jan. 8, 2021
       David Wagner                                         DATE



By:    _/s/ Martin Cohen                                    Jan. 8, 2021
        Martin Cohen, Esq.                                  DATE
       Attorney for Defendant
       52 Duane Street, 10th Floor
       New York, NY 10007
       (212) 417-8737

SO ORDERED:

 /s/ Hon. Alvin K. Hellerstein
____________________________________                        Jan. 12, 2021
                                                            _______________
HONORABLE ALVIN K. HELLERSTEIN                              DATE
UNITED STATES DISTRICT JUDGE
